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                 UNITED STATES DISTRICT COURT

                 SO             DISTRICT OF GEORGIA

                             VANNAH DIVISION


JAMERSON VASHON

       Movant,

V.                                          Case No.    CV411-292
                                                        CR408-315
UNITED STATES OF AMERICA,

       Respondent.




       Jamerson Vashon               who pled guilty to a drug distribution

conspiracy charge, moves         28 U.S.C. § 2255 relief. (Doe. 1. 1) For the

following reasons, his       on should be DENIED.

I. BACKGROUND

       In 2008, Smalls was one of 45 defendants indicted in a drug

conspiracy involving large quantities of crack and powder cocaine, along

with marijuana. (Presertence Investigation Report ("PSI") at 10 ¶ 1.)


       1
       Unless otherwise notd, citations are to the docket in movant's civil case,
CV411-292. "Cr. doc." refer to documents filed under movant's criminal case,
CR408-315.
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During the pre-indictrnent investigation in 2007, wiretaps and

confidential sources reealed that Smalls ran a far-flung drug

distribution empire. Ageits in Savannah learned of him through a wire

intercept on a local cocaine dealer named Stacey Tremaine Golden.         (Id.

¶T 8-9.) They sought and obtained a Title III authorization to intercept
Smalls' phone.   (Id. ¶ 10.

     In the meantime, they interviewed several of Smalls' associates,

who explained that he had, on several occasions, traveled to California,

purchased 50 to 80 kilograms of cocaine, and then had it shipped back to

Atlanta hidden in cars transported on a car carrier.      (Id. ¶ 11.) The

cocaine was then broker up and distributed to lower level dealers,

including several in the Savannah area, some of whom were prosecuted

as co-defendants.    (Id.)     They fingered Smalls, stating that he sold

them multiple kilograms f cocaine on several occasions.      (Id. at 11-13.)

In fact one of his associales, Telly Petty, stated that he had purchased

3-5 kilograms of cocaine once or twice a week from Smalls from late 2006

through October 2007.        (Id. ¶ 18.)




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      In August 2008, agents learned that Petty and Smalls' uncle,

Henry James, planned on traveling to Atlanta to obtain several

kilograms of cocaine from Smalls. Agents tailed them to Smalls' house.

On the way back, agents cbnducted a traffic stop on James' vehicle (Petty

was driving separately). After James gave consent to search, the agents

discovered 3 kilograms       cocaine stashed in a hidden compartment.

(Id. ¶ 15.) James later a     itted that he had regularly acted as a courier

for Smalls and had p        ipated in two trips to California to bring back

large quantities of cocai   via car carrier.   (Id. at 20.)

      Several days after      traffic stop, agents arrested Smalls while he

was leaving his residence : (Id. ¶ 17.) They found a .357 revolver in his

vehicle.   (Id.) Following, the stop, agents executed a search warrant on

the house.    (Id.) They djscovered a roll of green plastic wrap that had

been used to wrap up thb 3 kilograms of cocaine seized earlier in the

month.     (Id.) They also found $73,900 in currency and an AK-47.        (Id.)

During a post-arrest interview, Smalls admitted that he had been selling

cocaine and marijuana fo many years.       (Id. ¶ 26.)




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     On February 25, 2009, Smalls pled guilty to Count 1 of the

indictment (a drug conspiracy charge) in exchange for the government's

dismissal of the remaining 37 charges against him. (Cr. doc. 416.) The

PSI estimate, largely based on co-defendant statements, revealed that

Smalls should be held responsible for at least 50 kilograms but less than

150 kilograms of cocaine hydrochloride. Consequently, his base offense

level was 36 under U.S.S.G. § 2D1.1(c)(5). The PSI also assigned a

2-point enhancement for the possession of a dangerous firearm and a

4-point enhancement for $malls' role as a leader in the conspiracy.       (Id.

¶J 29 & 4.) However,. the PSI also credited Smalls 3 points for

acceptance of responsi y, pursuant to U.S.S.G. § 3E1.1.         (Id. ¶ 34.)

Hence, Smalls' total offen level was 39. His criminal history category

was a 1, since he only had a single state conviction which stemmed from

the same actions underlying the instant federal offense. (PSI ¶ 42.)

With a total offense level of 39 and a criminal history category of 1, the

United States Sen           Guidelines recommended sentencing range

was 262-327 months.        SI ¶ 63.) The sentencing judge imposed a

262-month sentence, at the low end of the Guidelines range. (Cr. 825.)


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Smalls appealed, arguingthat the sentencing judge erred in applying the

leadership enhancement.I United States v. Smalls, 397 F. App'x 606,

607-8 (11th Cir. 2010). The appellate court affirmed the district court's

judgment.     Id. at 608. TtFereafter, he filed the instant 28 U.S.C. § 2255

motion attacking his sentnce.

II. ANALYSIS

      Smalls claims that his attorney, Martin Gregory Hilliard, rendered

deficient performance by failing to: (1) object to drug quantity

calculations at sentencing; (2) object to the U.S.S.G. § 2D1.1 firearm

enhancement; and (3) argue effectively that the leadership enhancement

was unwarranted. (Doc", 2 at 9-10; doe. 1 at 45.2)

      A. Applicable Legal Standard

      On ineffective assitance of counsel claims the court applies

Strickland v. Washington, 466 U.S. 668, 687 (1984), which created a

two-part test for deter             whether counsel performed ineffectively.

First, the movant must d               te that his attorney's performance was

      2  In his petition, he 1its four ineffectiveness claims, but the first was not
particularized. (Doe. 1 at 4-5i) He generally invoked his Sixth Amendment right to
effective representation, but then merely referenced the entirety of his supporting
brief. (Id. at 4.)


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deficient, which requires tL showing that "counsel made errors so serious

that counsel was not functioning as the 'counsel' guaranteed by the Sixth

Amendment." 484 U.S. at 687. Second, the defective performance

must have prejudiced the defense to such a degree that the results of the

trial cannot be trusted.    4d.

     Under the performance prong, the reasonableness of an attorney's

performance is to be evaliated from counsel's perspective at the time of

the alleged error and in light of all the circumstances.   Id. at 690. It is

generally appropriate to iook to counsel's performance throughout the

case in making such a determination.        Kim melman v. Morrison, 477

U.S. 365, 386 (1986). The movant carries a heavy burden, as "reviewing

courts must indulge a strong presumption that counsel's conduct falls

within the wide range ofprofessional assistance; that is, the defendant

must overcome the presumption that, under the circumstances, the

challenged action might be considered sound trial strategy."     Id. at 689.

Indeed, Smalls must s         that "no competent counsel would have taken

the action that his cou       did take." Ford v. Hall, 546 F.3d 1326, 1333

(11th Cir. 2008), quoting          ler v. United States, 218 F.3d 1305, 1315
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(11th Cir. 2000) (en banc)

     For the prejudice prong Smalls must show that there was a

reasonable probability that the results would have been different but for

counsel's deficient performance.           Kimmelman, 477    U.S. at 375;

Strickland, 466 U.S. at 696. "A reasonable probability is a probability

sufficient to undermine tonfidence in the outcome."         Strickland, 466

U.S. at 694; see also Lightbourne v. Dugger, 829 F.2d 1012, 1022 (11th

Cir. 1987); Boykins v. Wanwright, 737 F.2d 1539, 1542 (11th Cir. 1983).

     B. Drug Quantity

     Smalls faults Hil1iad for failing to forward his PSI objections to

the probation officer whp prepared the report. (Doc. 2 at 12.) His

objections would have shown that he was only involved with the

principals named in the indictment in the final six months of the

conspiracy's life, since he started working with Petty in April 2008.     (Id.

at 12-13.) Presumably, this would limit the amount of cocaine

attributable to his involvement.    (Id. at 13-15.) Additionally, he insists

that Hilliard was ineffective for failing to point out the flawed drug

quantities at sentencing.    (Id. at 11-18.)


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      The trouble for Sna1ls is that he was permitted to raise this

objection at sentencing. 3 (Cr. doe. 986 at 13; see doe. 2 at 14 (admitting in

his brief that he submi          his objection at sentencing).) Additionally, a

slightly modified form of        claim was included in the final draft of the PSI;

Smalls explained that "he bnly dealt with Petty twice in 2007, and from

April 2008, until his            st in August 2008." (PSI ¶ 7.)              Notably,

Smalls' story changed           sentencing, where he insisted he only dealt

with Petty since April of 008.         (Cr. doe. 986 at 12-13.)

      To the extent his objection reached the sentencing judge, Smalls

simply cannot show prejiidice from Hilliard's failure to submit formal

objections to the factual         tements in the PSI. In any event, Smalls'

current version of the         ts is directly contradicted by the record and by

his own prior statement, as noted above. According to Petty, he had

         Hilliard explained at sentencing that he brought certain of Smalls' objections
to the probation officer and they were included in the final draft:

   Your Honor, in Paragraphl26, Paragraph 7 and Paragraph 12 of the PSI, Mr.
   Smalls' objections regardiflg his role in the conspiracy were noted by the
   probation officer. That was incorporated and made a part of the PSI. The
   objections that Mr. Smalls; had weren't necessarily to his guilt or culpability;
   they were, however, in fadt to him being termed a leader, number one, and
   some of the weights that were attributed to him, number two.

(Cr. doe. 986 at 6.) It is unclear from Smalls' pleading exactly what was left out.
He has not submitted his projiosed objections or outlined them for the Court.
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purchased from Smalls regularly since late 2006 or early 2007. (PSI ¶

18.) He stated that Small had supplied him with three to five kilogram

quantities of cocaine on multiple occasions, and conservatively estimated

that Smalls provided him 1with a minimum of 50 kilograms of cocaine (in

fact, he claims that he purchased between 50 and 75 kilograms from

Smalls in the summer of 2007 alone). (PSI ¶J 15, 18.) In the summer

of 2007, he began purchaing three to five kilogram quantities once or

twice a week until October 2007.       (Id.)   He also stated that he met

Smalls' supplier, Javier Valdivia (a/k/a "El") on several occasions, and

Smalls would sometimes purchase 30-40 kilograms at a time.             (Id.)

Smalls has never sugge d that Petty fabricated his story about the

meetings with "El."

     James' account also deviates from Smalls'. He advised agents that

he had done work for S s starting in 2006. During an interview he

revealed that he had ma two trips to California for Smalls that year,

perhaps inside the mdi            t window (it charged Smalls with

conspiring with the ot      beginning on about the first day of September

2006).   (Id. ¶ 20; cr. doe. 13 at 4.) Tyrone Fields, another co-defendant,
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related that he had purchased approximately five kilograms of cocaine

from Smalls. (PSI ¶ 19.) According to Chris Robbins, another dealer,

his source of supply, Ferrell Hull, purchased multiple kilograms from

Smalls. (PSI ¶ 11.) H related that Smalls moved 50-80 kilogram

quantities from California to Atlanta on car carriers.     (Id. ¶ 11.)

     In the face of overwhelming evidence supporting the

50-kilogram-plus drug quantity, Smalls' timeline is simply

unpersuasive. Nor does iis assertion that he only dealt with Petty for

six months even address the root issue -- whether he transacted more

than 50 kilograms of          der cocaine. There is simply no basis for

finding that Hilliard           ed deficiently in failing to further pursue

the drug quantity matt+r or that his failure to do so in any way

prejudiced Smalls.

      Nor does the Coujrt accept his argument that Hilliard was

ineffective for failing to object under Fed. R. Crim. P. 32(i)(3) on the basis

that the sentencing judge failed to require the government to offer

evidence supporting the PSI facts, adopted the PSI without explanation,

and failed to state his reasons for overruling Smalls' objections. (Doc. 2


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at 15-18.) Smalls' objectd to a side issue, whether he had dealt with

Petty regularly prior td April 2008. He never contested Petty's

assertions that Smalls had purchased large quantities of cocaine from

"El." Nor did he directly dispute Petty's total estimated drug weight,

either then or now. All he disputes was the timing of the transactions.

The Court was thus entitled to accept those facts as undisputed. 4 Fed.

R. Crim. P. 32(i)(3)(A); see United States v. Owen, 858 F.2d 1514, 1517

(11th Cir. 1988) ("Va assertions of inaccuracies in the report are

insufficient [to trigger 3 i)(3)(B)]; instead, the defendant must make

clear and focused obj              to the specific factual allegations made in

the report."); United S          v. Aleman, 832 F.2d 142, 145 (11th Cir. 1987)

("challenges to the PSI must assert with specificity and clarity each

factual mistake of which [tthe] defendant complains"). 5


      4 For the same reason, the Court rejects Smalls' argument that the sentencing
judge erred by failing to make individualized findings concerning the scope of Smalls'
participation in the conspiracy. (Doc. 2 at 17.)

         Smalls also claims t it the judge failed to adequately state the reasons for
his sentence as required by 1 U.S.C. § 3553(c). (Doe. 2 at 16.) The judge, however,
explained in detail his reaso rig. (Cr. doe. 986 at 23-24 (sentencing tr. discussing §
3553 and laying out the jud s reasoning for the sentence).) In any event, Smalls'
claim is conclusory. He nevi explains how the sentencing judge failed to meet the §
3553 standard.


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      C. Firearm Enhancement

      Smalls next complains that the firearm enhancement should not

apply since he had no drugs in his vehicle when agents seized the .357

magnum from his car thiring his arrest (and points out that it was

actually his uncle's gun). (Doc. 2 at 20-21.) He states that his counsel

was ineffective for failingto object to that in the PSI and at sentencing.

(Id. at 21.) Finally, he insists the Court erred by failing to state its

reasons, on the record, for applying the enhancement.                 (Id. at 23.)

Hence, he reasons, Hilliarjd also erred by failing to object on that basis at

sentencing or on appeal. 6 (Id.)

      Under U.S.S.G. §          11(b)(1), a district court should increase a

defendant's offense level two where the defendant possessed a firearm

in connection with a          trafficking offense. If the government shows

by a preponderance of the evidence that the firearm was present at the

site of the charged offe         the burden shifts to the defendant to show

that the connection be          en the firearm and the offense is clearly

         He states that he was never given an opportunity to defend himself from the
flawed charge at sentencing. 1 (Doe. 2 at 24.) Smalls is again employing revisionist
history. (Cr. doe. 986 at 6, 12 (sentencing judge offering Smalls the opportunity to
state his objections to the factual assertions in the PSI).)


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improbable.     United States v. Ferguson, 316 F. App'x 927, 928 (11th Cir.

2009) (quoting United States v. Hall, 46 F. 3d 62, 63 (11th Cir. 1995)).

      Putting the .357 to the side, Smalls kept an AK-47 in his house,

where agents discovered drug packaging material and $73,900 in

apparent drug proceeds. 7 (PSI ¶ 17, 29.) In fact, the residence was the

site of multiple drug transactions. Agents knew James and Petty

picked up around three kilograms of cocaine from the residence, just

before they were stopped and the drugs were seized during a subsequent

traffic stop. (PSI ¶ 15.) Fields reported to agents that he picked up at

least a kilogram of cocaifte from Smalls at the house on five occasions.

(Id. ¶ 18.) Smalls did not object to these facts at sentencing. When

given the opportunity to speak, he only objected to the leadership

enhancement and the total weight of the drugs attributable to him. (Cr.

doe. 986 at 9. ("I'm fighting the kingpin enhancement."); id. at 12 (objecting

to total drug weight).) Absent any objection, the sentencing judge properly

accepted the facts as true, which shifted the burden to Smalls to show

      ' The link to the .35' revolver in Smalls' car was admittedly a bit more
tenuous, as nothing else related to the drug conspiracy was uncovered there. Still,
the Court recognizes that drug dealers moving large quantities of cocaine often keep
firearms within easy reach In that respect the Court is satisfied that the
sentencing judge properly found that it was also connected to the offense conduct.


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that the AK-47 recovered from his house was totally unrelated to his

drug dealing activities. He did not do so. Hence, the Court sentenced

Smalls appropriately. (C1. doc. 986 at 14-15.) Moreover, the sentencing

judge made those findings on the record, despite Smalls' insistence that he

failed to do so:

   The defendant has bee held accountable for distributing significant
   quantities of cocaine hydrochloride during the course of the
   conspiracy and was clea ly one of the most culpable defendants in this
   case. The defendant       ted as a leader by directing the action of
   others, and possessed f 'earms in furtherance of the instant offense.
   The investigation als       confirms that the defendant received
   substantial financial g ns from his illegal activities. Additionally,
   defendant has continu I to participate in the distribution of illegal
   drugs. Even though h appears before this Court with a category 1
   criminal history, he's h I two previous drug-related convictions.

(Cr. doe. 986 at 23.)            the sentencing enhancement was properly

applied, Smalls' claim         Hilliard simply did not perform deficiently by

failing to pursue this ma     further, either at sentencing or on appeal.

      D. Leadership          nhancement

      In Ground 3 Smal1s revisits a matter already decided against him

by the appellate court.     As explained above, Smalls contended on appeal
that the district judge 'erred by applying the U.S.S.G. § 3131.1(a)

four-point enhancement I for his role as a leader in the criminal


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enterprise.    Smalls, 397 App'x at 607. The Eleventh Circuit rejected

the claim, reasoning as fo

      The undisputed stat ?ments of [his] co-defendants confirm that
   Smalls exercised deci ion-making authority over the planning,
   strategy, pricing, pure. lase, transport, and delivery operations of
   the extensive conspir icy. For example, Smalls planned the
   cross-country purchas ? of drugs from his own supplier and
   recruited and directec at least one person, Henry James, and
   possibly more, to tra isport and deliver the drugs to various
   suppliers. Smalls faci Litated the installation of trap doors in the
   vehicles to support t ie work of the conspiracy. Smalls told
   distributors how and ' Then to pay for the drugs, and he advised
   distributors on how 1 o plan their movements to avoid police
   detection. The undis uted facts show that Smalls took a larger
   share of the fruits of' he conspiracy, given the large quantity of
   cash that Smalls carri d on his person and stored in his residence
   and his numerous, exp nsive vehicles, as compared to the $200 to
   $300 payments made :0 James for delivery of the drugs. Thus,
   Smalls engaged in mor, than a buyer/seller relationship. Further,
   Smalls' repeated adr ission that he recruited, directed, and
   controlled James, and possibly one other participant, is sufficient
   to support the leaders1 ip enhancement.

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      To the extent he as simply re-raised the claim, 8 it must be



      8 Despite raising this a an ineffectiveness claim, Smalls still insists that the
sentencing judge erred by faili ng to make an individualized finding as to the scope
and nature of his participatioji in the conspiracy and in failing to resolve "disputed"
facts related to his role as 1 ader. (Doc. 2 at 34-35.) The appellate decision
establishes that the sentencin g judge did not err in his fact finding. Hence, this
repackaged claim is barred, a noted below.


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dismissed out-of-hand, sirtce a claim rejected by the appellate court does

not merit rehearing on a different but previously available legal theory.

United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000). 9 Smalls,

however, now faults his attorney for failing to present the claim properly

at sentencing. (Doc. 2 at 30.) He contends that Hilliard argued against

himself by admitting that Smalls in fact directed James in his actions.

(Id.) Additionally,             contends that Hilliard fixated upon the fact

that Smalls only               a single person, rather than arguing that he

deserved only a two-point enhancement for supervising a single

participant in a drug acti'vity that only involved three persons (Smalls,

Petty, and James), instead of a four-point enhancement as a

leader/organizer of a cimina1 enterprise involving five or more

participants. 1° (Id. at 30431.)


          Moreover, sentencin claims, absent some constitutional, jurisdictional, or
fundamental error, are not co nizable in a § 2255 motion. See, e.g., Ayuso v. United
States, 361 F. App'x. 988, 99 -92 (11th Cir. 2010) (§ 2255 movant's claim that the
calculation of his criminal poi .ts under the guidelines was no longer correct because
one of his state convictions w s vacated after he was sentenced did not constitute a
constitutional error and did r it "implicate[] a fundamental defect in the validity of
the district court proceedin        so as to rise to the level of a "miscarriage of
justice."); Vallas v. United St :es, 2012 WL 2681398 at * 5 (S.D. Ala. Jun. 7, 2012).

      10
       Notably, with a C            history category of 1 and an offense level of 37
(assuming the two-point             ;hip enhancement applied), Smalls' U.S.S.G.

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     At the outset, the Court notes that Hilliard fought the leadership

enhancement. (Cr. 986doc. at lo -11.)             But even if he performed

deficiently by failing to ciiaft his arguments to Smalls' standards (or by

failing to object to the PSI on that ground), Smalls simply cannot

demonstrate Strickland prejudice. The unrebutted evidence of record

shows that Smalls was inviolved with more than the three participants he

mentions. The most obvious additional participant was his supplier,

Javier Valdivia. (PSI ¶11 14 ) 18, 25.) Additionally, his cocaine made it to

Alphonso Irving, Tyrone Fields, Telly Petty, Chris Robbins, Ferrell Hull,

Jemond Burke, Charles Collins, and Jernart Akins.' 1 (PSI ¶I 7, 11-16,

18-21, 25.) He had even directly contacted Collins to tell him to leave

Savannah until the situation cooled off. (PSI ¶ 13.) He used James to

transport the cocaine fron Los Angeles through Atlanta to Savannah.

(PSI ¶I 12, 14-16 1 18, 20, 25.) And James acknowledged delivering

cocaine to Fields, Akins, Collins, and Petty.      (Id. ¶ 20.) Smalls' position
recommended sentencing range would have been 210-262 months. In other words, he
still may have received the same sentence, though it would have been at the upper
limit of the guidelines range.

      11 Despite Hilliard's failure to submit objections to the PSI, the documents
notes that "Smalls wishes to point out that he does not know Aiphonso Irvin, Chris
Robbins, or Jemond Burke, and made no direct transactions with them." (PSI ¶ 12.)


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that he worked with only James and Petty is new and entirely

unsupported. While he insists that it was the government's burden to

prove his involvement aL sentencing (doe. 2 at 33), he neglects to

acknowledge that he bears the burden here, and he has utterly failed to

carry it with his novel ne* perspective on the events. Hence, this claim

fails.



III. CONCLUSION

         For the foregoing reasons, Green's § 2255 motion (doc. 1) should be

DENIED. Applying the Certificate of Appealability ("COX') standards,

which are set forth in Brown v. United States, 2009 WL 307872 at * 1-2

(S.D. Ga. Feb. 9, 2009) (urpublished), the Court discerns no COA-worthy

issues at this stage of the litigation, so no COA should issue. 28 U.S.C. §

2253(c)(1); see Alexander 'v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000)

(approving sua sponte         nial of COA before movant filed a notice of

appeal). And since t          are no non-frivolous issues to raise on appeal,

an appeal would not be           n in good faith. Thus, in forma pauperis

status on appeal should        wise be DENIED. 28 U.S.C. § 1915(a)(3).
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     SO REPORTED                RECOMMENDED this             7     day of

January, 2013.


                                         UNITED TATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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